Form fnldecree


                                    United States Bankruptcy Court
                                         Western District of Louisiana

                                                 Case No.: 17−20336
                                                    Chapter: 13
                                                Judge: John W. Kolwe

In Re:
   Gloria Green Morris
    (debtor has no known aliases)
   POB 261
   Greenwood, MS 38935

Social Security No.:
   xxx−xx−4903
Employer's Tax I.D. No.:



                                                   FINAL DECREE




     The court having found that the estate of the above named debtor(s) or debtor(s) in possession has been fully
administered in accordance with the procedures required by Rule 5009, Fed. R. Bankr. P.;

       IT IS ORDERED THAT the trustee in this case is discharged; that unless there is a blanket bond herein, the
trustee's surety is hereby discharged; that regardless of whether the trustee's bond herein is a case bond or a blanket
bond, the surety is relieved of any liability for the actions or inactions of the trustee that may be incurred after the
termination of its suretyship, but is not relieved of any liability for the actions or inactions of the trustee incurred
during its suretyship; and that this case be and the same is hereby closed pursuant to 11 U.S.C., Section 350.

Dated: 3/22/22
                                                             /s/John W. Kolwe
                                                             U.S. Bankruptcy Court Judge




             17-20336 - #41 File 03/22/22 Enter 03/22/22 07:55:04 Final Decree Pg 1 of 1
